* Case 1:20-cr-10111-RWZ Document 35-1 Filed 07/28/20 Page 1 of 2

@JIS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. Investigating Agency FBI

City _Boston, MA Related Case Information:

County Suffolk Superseding Ind./ Inf. Case No. _20-cr-10111-RWZ
Same Defendant New Defendant

Magistrate Judge Case Number 20-mj-2158-MBB
Search Warrant Case Number = _20-mj-2159/2160-MBB

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

R 20/R 40 from District of
Defendant Information:
Defendant Name Charles Lieber Juvenile: [ | Yes No
Is this person an attorney and/or a member of any state/federal bar: [ | Yes No
Alias Name
Address (City & State) 27 Hayes Avenue, Lexington, MA
Birth date (Yr only): 1959 SSN (last4#): Sex M Race: White Nationality; American
Defense Counsel if known: Marc Mukasey Address New York, NY
Bar Number
U.S. Attorney Information:
AUSA __Jason A. Casey Bar Number if applicable
Interpreter: [ | Yes [¥]No List language and/or dialect:
Victims: [_ ]Yes [Y]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [ | Yes [ | No
Matter to be SEALED: [ Yes No
[| Warrant Requested Regular Process [ | In Custody
Location Status:
Arrest Date 01/28/2020
[ ]Already in Federal Custody as of in
[_]Atready in State Custody at [ Serving Sentence [waiting Trial
On Pretrial Release: Ordered by: Judge Marianne B. Bowler on |__ January 30, 2020
Charging Document: [| Complaint [| information Indictment
Total # of Counts: | |Petty  _ _ [_|Misdemeanor —— Felony

Continue on Page 2 for Entry of U.S.C. Citations

   

I hereby certify that the case numbers of any prior proceedin
accurately set forth above.

Date: — July 28, 2020 Signature of AUSA:

 
Case 1:20-cr-10111-RWZ Document 35-1 Filed 07/28/20 Page 2 of 2

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

 

District Court Case Number (To be filled in by deputy clerk): 20-cr-10111-RWZ

Name of Defendant Charles Lieber

U.S.C. Citations

 

 

 

Index Key/Code Description of Offense Charged Count Numbers
Set] 18U.S.C. § 1001(a)(2) False Statements Land 2
Filing False Tax Returns 3and4

Set2 26 U.S.C. § 7206(1)

 

Set3 31 U.S.C. §§ 5312, 5322(a)

 

Failure to File Reports of Foreign Bank
and Financial Accounts : 5 and 6

 

Set 4

 

 

Set 5

 

 

Set 6

 

 

Set 7

 

Set 8

 

 

Set 9

 

 

Set 10

 

Set 11

 

Set 12

 

Set 13

 

Set 14

 

Set 15

 

ADDITIONAL INFORMATION:

 

 

 

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013

 
